             Case 2:96-cr-00350-WBS Document 989 Filed 12/14/15 Page 1 of 4

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 6

 7                               IN THE UNITED STATES DISTRICT COURT

 8                                  EASTERN DISTRICT OF CALIFORNIA

 9
     UNITED STATES OF AMERICA,                          CASE NO. 2:96-CR-350-05 WBS
10                                                      GOVERNMENT’S FOURTH MOTION AND
                                  Plaintiff,            [PROPOSED] ORDER FOR EXTENSION OF TIME
11                                                      TO RESPOND TO THE DEFENDANT’S § 2255
                            v.                          PETITION
12   MADY CHAN,

13                               Defendant.

14

15 The United States of America, through its attorneys of record, Benjamin B. Wagner, United States

16 Attorney, and William S. Wong, Assistant U.S. Attorney, hereby submits this fourth request for an

17 extension of time to file the Government=s opposition.

18          For the reasons set forth in Assistant U.S. Attorney William S. Wong=s attached Declaration, the

19 government requests a 7 day extension of time to file its opposition to December 18, 2015.

20          Defendant Chan waived appeal and he did not file an appeal, therefore, his conviction sentence is

21 final and he is now serving his 88 month sentence, concurrent to his NDCA sentence of 53 years which

22 is also final. The granting of the government=s extension will not serve to prejudice the defendant as he

23 is serving a 53 year term of imprisonment.

24 Dated: December 11, 2015                                 BENJAMIN B. WAGNER
                                                            United States Attorney
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26
                                                    By: /s/ WILLIAM S. WONG
27                                                      WILLIAM S. WONG
                                                        Assistant United States Attorney
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              Case 2:96-cr-00350-WBS Document 989 Filed 12/14/15 Page 2 of 4

 1
                                   DECLARATION OF WILLIAM S. WONG
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 3
            I, William S. Wong, hereby declare as follows:
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            1. I am an Assistant U.S. Attorney for the Eastern District of California and am the counsel
 5
     assigned to prosecute the case of United States v. Mady Chan, 2:96-cr-350 WBS.
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            2. Defendant Chan was convicted by plea to numerous money/laundering counts. The
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     Honorable William B. Shubb sentenced the defendant to a term of imprisonment of 88 months in
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     custody, concurrent to defendant’s NDCA sentence of 53 years. The defendant appealed his NDCA
 9
     convictions and sentence to the Ninth Circuit which affirmed his convictions and sentence.
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            3. In his ' 2255 petition, the defendant claims that his counsel improperly advised of his right to
11
     a speedy trial. The defendant further argues that he would not have accepted the plea agreement had he
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     known about the speedy trial issue.
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            4. The issues in this case is whether the defendant received effective representation of counsel
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     regarding his right to a speedy trial and whether the defendant knowingly and voluntarily waived his
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     right to a speedy trial in order to obtain the benefit of dismissal of the charges in the indictment against
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     his parents, former wife, and for himself, by entering into a plea agreement in which he waived or gave
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     up his right to a speedy trial. To adequately present the Government’s case on these issues, I telephoned
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     the defendant’s counsel, Timothy Warriner, on numerous occasions and was finally notified by someone
19
     on his staff that he is on vacation in Alaska and cannot be reached. A few weeks ago, I was able to
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     reach Mr. Warriner upon his return from his Alaskan trip. He advises that he is willing to speak to me
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     only after the court issues an order permitting him to divulge attorney-client communications directly
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     relating to the subject matter in which the defendant has raised in his petition. This court has issued that
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     order. In order to properly respond to defendant’s petition, the government would need to interview
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     defendant’s counsel and to have him available to sign a declaration and/or testify at a hearing if required
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     by the court.
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            5. FBI Special Agent Steven Dupre and I met with defendant Mady Chan’s former attorney,
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     Timothy Warriner, on Monday, December 7, 2015, for the purpose of interviewing him regarding the
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             Case 2:96-cr-00350-WBS Document 989 Filed 12/14/15 Page 3 of 4

 1 defendant’s claim of ineffective representation of counsel relating to the defendant’s decision to enter

 2 into the plea agreement with the government and his decision to forego his right to file a motion to

 3 dismiss the indictment based on speedy trial claims. During this meeting, Mr. Warriner provided

 4 relevant and important information relating to the defendant’s claim of ineffective representation of

 5 counsel. Mr. Warriner wanted a few days to prepare a declaration that can be file with the Government’s

 6 opposition. He requested additional time to review this case file and search his memory as to all relevant

 7 information pertinent to this subject matter. Also, Special Agent Dupre needed time to have a

 8 declaration prepared relating to his percipient knowledge on the meetings that he attended in which

 9 settlement negotiations were discussed and the defendant’s statements relevant to the issue presented in

10 the section 2255 petition that he recalled that were made by the defendant at these meetings.

11          6. Additionally, I will need time to obtain this closed file, review case materials, research the

12 law, and write the Government’s Opposition.

13          7. The defendant is currently serving his 88 month sentence, concurrent to his NDCA sentence

14 of 53 years and will not by prejudice by the government’s request for an extension to December 18,

15 2015. The government has received three prior extensions of time to file its opposition to the

16 defendant’s § 2255 petition.

17          This I say under the penalty of perjury, and to the best of my knowledge.

18

19 Executed this 11th day of December, 2015, in Sacramento, California.

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21                                                           /s/ William S. Wong
                                                             WILLIAM S. WONG
22                                                           Assistant United States Attorney

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             Case 2:96-cr-00350-WBS Document 989 Filed 12/14/15 Page 4 of 4

 1                                                  ORDER

 2          Having found good cause, the Government=s Opposition is now due on December 18, 2015.

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     Defendant shall file a reply, if any, no later than January 19, 2016.
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 5   IT IS SO ORDERED
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     Dated: December 11, 2015
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